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 7

 8                                        IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. CR S 2:10-0362 WBS

12                                         Plaintiff,      ORDER GRANTING GOVERNMENT’S MOTION
                                                           TO DISMISS INDICTMENT
13                                   v.

14   MICHELLE LYNNE STEPHENS,

15                                         Defendant.

16

17                                                          ORDER

18                             For the reasons set forth in the motion to dismiss filed by

19 the United States, IT IS HEREBY ORDERED that:

20                             The Indictment in Case No. CR S 2:10-0362 WBS as to

21 defendant MICHELLE LYNNE STEPHENS is hereby DISMISSED pursuant to

22 Federal Rule of Criminal Procedure 48(a) without prejudice.

23

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25 DATED: _March 1, 2013
     DEAC_Signature-END:




26   DEAC_Signature-END:




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